EXHIBIT F
                    LINER FREEDMAN TAITELMAN + COOLEY, LLP
                                          ATTORNEYS AT LAW

                                  1801 CENTURY PARK WEST, 5TH FLOOR
                                  LOS ANGELES, CALIFORNIA 90067-6007
                                          TEL: (310) 201-0005
                                          FAX: (310) 201-0045
                                           egarofalo@lftcllp.com



May 13, 2025

Via Email
Esra A. Hudson
Manatt, Phelps & Phillips, LLP
2049 Century Park East, Suite 1700
Los Angeles, CA 90067
ehudson@manatt.com

Michael J. Gottlieb
Willkie Farr & Gallagher LLP
1875 K Street NW
Washington, DC 20006
mgottlieb@willkie.com

Re:    Wayfarer Studios LLC, et al. v. Lively, et al., Case No. 1:25-cv-00449-LJL

Counsel:

        This firm represents, among others, Jamey Heath, Jennifer Abel, Melissa Nathan, Steve
Sarowitz, Wayfarer Studios LLC, and It Ends With Us Movie LLC (collectively, the “Wayfarer
Plaintiffs”) in the above-referenced matter. The following is the Wayfarer Plaintiffs’
consolidated response to the twelve Rule 11 letters (collectively, the “Letters”) directed to each
of the Wayfarer Plaintiffs by your clients Blake Lively (“Ms. Lively”) and Ryan Reynolds
(collectively, the “Lively Defendants”).

        The Letters address alleged pleading defects that the Lively Defendants have already
placed before the Court in their respective motions to dismiss the First Amended Complaint
(“FAC”). The gist of the Letters is that the FAC’s extortion, defamation and intentional and
negligent interference claims are stated on behalf of the “Wayfarer Parties” as a group and do not
state facts sufficient to state a claim on behalf of particular plaintiffs swept into the definition of
“Wayfarer Parties.” For instance, the Lively Defendants threaten sanctions against Jamey Heath
on the asserted grounds that (i) Mr. Heath lacks standing to assert an intentional interference
claim because the FAC does not allege that he is a party to the allegedly interfered-with WME
contract; and (ii) the FAC fails to plead specific defamatory statements about Mr. Heath, but
does so only about others included in the term “Wayfarer Parties.” As another example, the
Lively Defendants complain that Melissa Nathan is grouped under the umbrella of “Wayfarer
Parties” in the FAC’s extortion claim, even though only Wayfarer, Heath and Baldoni are proper
Esra A. Hudson
Michael J. Gottlieb
May 13, 2025
Page 2

plaintiffs. The Lively Defendants also object that the FAC’s false light claim is properly stated
only by Baldoni, Heath, Abel, and Sarowitz, and not Melissa Nathan.

        Simply put, group pleading is the defect at the heart of the Lively Defendants’ Rule 11
Letters. Such purported pleading defects, particularly those already before the Court in a motion
to dismiss, are not the proper subject of a Rule 11 motion. Such motions are improper if they are
“substantially identical to the arguments made by defendants in support of their motion to
dismiss for failure to state a claim.” Jawbone, LLC v. Donohue, No. 01 CIV. 8066 (CSH), 2002
WL 1424587, at *6 (S.D.N.Y. June 28, 2002), citing Fed. R. Civ. P. 11, Advisory Committee
Note on 1993 Amendments (“[Rule 11 motions] should not be employed . . . to test the legal
sufficiency or efficacy of allegations in the pleadings. Nor should Rule 11 motions be prepared
to emphasize the merits of a party’s position . . . .”); see also Rates Tech. Inc. v. Mediatrix
Telecom, Inc., No. CV 05-2755 (JS) AKT, 2007 WL 2021905, at *6 (E.D.N.Y. Mar. 16, 2007),
report and recommendation adopted, No. 05CV2755(JS) (AKT), 2007 WL 1987787 (E.D.N.Y.
June 29, 2007).

         The Lively Defendants’ Rule 11 arguments are not merely substantially similar to, but the
same as arguments asserted in their motions to dismiss.1 Even ignoring the awkward fact that
Rule 11 does not apply, group pleading is a common practice. As expressly stated in the
responses to the Lively Defendants’ motions to dismiss, if the Court deems this definitional issue
to be a pleading defect, it is easily curable by amendment. A curable pleading defect does not
rise to the level of “frivolous, legally unreasonable, or factually without foundation” as required
for Rule 11 sanctions. Put another way, if the Court grants your clients’ motions to dismiss in
whole or part, the Wayfarer Plaintiffs will amend the FAC as directed by the Court, obviating
any imagined Rule 11 issue. If the Court blesses the pleading and denies your motions to
dismiss, any Rule 11 motion by your clients would be rendered frivolous.

        Indeed, the Supreme Court has recognized “the flexibility provided by Rule 11(b)(3),
allowing pleadings based on evidence reasonably anticipated after further investigation or
discovery.” Rotella v. Wood, 528 U.S. 549, 560 (2000). Discovery is in its infancy and the
extensive allegations in the FAC support the Wayfarer Plaintiffs’ good-faith belief that
reasonable investigation and discovery will uncover additional evidence to support the claims of
all Wayfarer Plaintiffs. The Lively Defendants’ Rule 11 threat at this early juncture is, to put it
mildly, premature, in addition to being improper during the pendency of the motions to dismiss.

        Finally, the Letters cynically quote Mr. Freedman, whose statements are not pleadings
filed with the Court and are thus outside the ambit of Rule 11. Since they have no relevance to
Rule 11 sanctions, the only conclusion to be drawn is that the inclusion of the statements in the
Letters has no purpose but to harass and undermine Mr. Freedman and our firm with the Court—
the very conduct sanctions seek to curtail.

1
 Although given short shrift in the Letters, Ms. Lively also invokes the fair reporting “and sexual
harassment or retaliation” privileges—issues that are similarly pending before the Court in Ms.
Lively’s motion to dismiss.
Esra A. Hudson
Michael J. Gottlieb
May 13, 2025
Page 3

         In sum, the Lively Defendants’ twelve Letters claiming that the Wayfarer Parties have
violated Rule 11 are in themselves frivolous and contrived solely to harass and increase the cost
of litigation. Such “hardball” litigation tactics, including threats of Rule 11 sanctions, are
improper. See Gaidardo v. Ethyl Corp., 835 F.2d 479, 484 (3d Cir. 1987). Any motion for Rule
11 sanctions will be addressed accordingly.

       Please feel free to call me if you wish to discuss this matter further.


                                                           Very truly yours,

                                                           /s/ Ellyn S. Garofalo

                                                           Ellyn S. Garofalo
